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                     UNITED STATES COURT OF APPEALS                      FILED
                                                                          JUL 30 2024
                            FOR THE NINTH CIRCUIT
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS


DONALD J. TRUMP, the Forty-Fifth                 No.   22-15961
President of the United States; LINDA
CUADROS; AMERICAN                                D.C. No. 3:21-cv-08378-JD
CONSERVATIVE UNION; RAFAEL                       Northern District of California,
BARBOSA; DOMINICK LATELLA;                       San Francisco
WAYNE ALAN ROOT; NAOMI WOLF,

              Plaintiffs-Appellants,             ORDER

v.


TWITTER, INC.; JACK DORSEY,

              Defendants-Appellees.

  and


UNITED STATES OF AMERICA,

              Intervenor-Appellee,


Before: BYBEE, BENNETT, and DESAI, Circuit Judges.


        The supplemental briefs referenced in this Court’s order dated July 3, 2024

(Dkt. No. 135), shall be no longer than twenty-five pages or 7,000 words.
